          Case: 20-17416, 06/22/2022,
          Case 3:19-cv-03032-SK       ID: 12476694,
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                     UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                          JUN 22 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
TRANSGENDER LAW CENTER; JOLENE No. 20-17416
K. YOUNGERS, as personal administrator
for the wrongful death estate of Roxsana D.C. No. 3:19-cv-03032-SK
Hernandez,                               Northern District of California,
                                         San Francisco
                Plaintiffs-Appellants,
                                         ORDER
  v.

IMMIGRATION AND CUSTOMS
ENFORCEMENT; U.S. DEPARTMENT OF
HOMELAND SECURITY; OFFICE FOR
CIVIL RIGHTS AND CIVIL LIBERTIES -
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

                 Defendants-Appellees.

Before: S.R. THOMAS and McKEOWN, Circuit Judges, and RESTANI,* Judge.

      Defendant-Appellees’ motion for an extension of time to file a petition for

rehearing (Dkt. No. 54) is GRANTED. The petition for rehearing is now due on

July 27, 2022.




      *
             The Honorable Jane A. Restani, Judge for the United States Court of
International Trade, sitting by designation.
